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                    IN THE UNITED STATES JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION


                                                    )
 IN RE: AQUEOUS FILM-FORMING FOAMS                  )         MDL Docket No. 2873
 PRODUCTS LIABILITY LITIGATION                      )
                                                    )
                                                    )


                         NOTICE OF OPPOSITION TO CTO – 10

       Pursuant to Rule 7.1(c) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation, Plaintiff Ridgewood Water submits this notice of opposition to

Conditional Transfer Order No. 10 (CTO-10) [Dkt. No. 404] as it pertains to the following action:

       Ridgewood Water v. 3M Company et al.,
       No. 1:19-cv-09651 (D. New Jersey).



Dated: April 24, 2019                       SHER EDLING LLP


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